Case 1:15-cv-01734-RBJ Document 50 Filed 11/08/21 USDC Colorado Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


                                                                              Alfred A. Arraj
                                                                              United States Courthouse
                                                                              901 19th Street
                                                                              Denver, Colorado 80294
                                                                              www.cod.uscourts.gov

Jeffrey P. Colwell, Clerk                                                     Phone: (303) 844-3433


                                           November 8, 2021

         In re: Obduskey v. Wells Fargo et al, 15-cv-01734-RBJ

 Dear Counsel,

       I have been contacted by Judge R. Brooke Jackson who presided over the above-
 mentioned case.

          Judge Jackson informed me that it has been brought to his attention that while he
 presided over the case he or his spouse owned stock in Wells Fargo. The ownership of stock
 neither affected nor impacted his decisions in this case. However, this stock ownership would
 have required recusal under the Code of Conduct for United States Judges, and thus, Judge
 Jackson directed that I notify the parties of the conflict.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance for addressing disqualification that is not discovered until after
 a judge has participated in a case:

                    [A] judge should disclose to the parties the facts bearing on
                    disqualification as soon as those facts are learned, even though
                    that may occur after entry of the decision. The parties may then
                    determine what relief they may seek and a court (without the
                    disqualified judge) will decide the legal consequence, if any,
                    arising from the participation of the disqualified judge in the
                    entered decision.

        Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals
 oral argument, the Committee explained “[s]imilar considerations would apply when a
 judgment was entered in a district court by a judge and it is later learned that the judge was
 disqualified.”

         With Advisory Opinion 71 in mind, you are invited to respond to Judge Jackson’s
 disclosure of a conflict in this case. Should you wish to respond, please submit your response
 by November 30, 2021. Any response will be considered by another judge of this court without
 the participation of Judge Jackson.
Case 1:15-cv-01734-RBJ Document 50 Filed 11/08/21 USDC Colorado Page 2 of 2



                                      Sincerely,
                                                         2021.11.08
                                                         16:22:57
                                      Jeffrey P. Colwell -07'00'
                                      Clerk, United States District Court


CC: Steven Hill, Christopher Dietrich and Holly Shilliday.




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